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                                        ORDERED.


     Dated: April 26, 2019




                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION
                                   www.flmb.uscourts.gov

IN RE:
                                                               CASE NO.: 6:19-bk-00200-KSJ

ALLEN W HARDEN
                                                               CHAPTER: 7
                       Debtor(s).
                                                      /
    AGREED ORDER GRANTING IN PART AND DENYING IN PART MOTION FOR
     RELIEF FROM STAY OF SELECT PORTFOLIO SERVICING, INC. [doc #20]


         THIS CASE came on for consideration without hearing on the Motion for Relief from Stay

filed by SELECT PORTFOLIO SERVICING, INC. SERVICER FOR U.S. BANK

NATIONAL ASSOCIATION, AS TRUSTEE, SUCCESSOR IN INTEREST TO

WACHOVIA BANK, N.A., AS TRUSTEE, FOR J.P. MORGAN MORTGAGE TRUST

2005-S2 (Document No.20) (the “Motion”). The Motion was served by negative notice, however,

the Trustee Agrees to the submission of this Order.

Accordingly, it is ORDERED:
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1. The Motion for Relief from Stay (Doc. No. 20) is Granted in Part and Denied in Part, as set forth

    herein.

2. The automatic stay arising by reason of 11 U.S.C. § 362 of the Bankruptcy Code is terminated as

    to Movant's, its successors and/or assigns, interest in the following property:

    Lot 3, Picketts Cove, according to the plat thereof as recorded in Plat Book 25, Page 10,
    of the Public Records of Orange County, Florida.

    AKA: 4913 Chuluota Rd, Orlando, FL 32820

3. The automatic stay is modified for the sole purpose of allowing Movant to complete in rem

    relief to take any and all steps necessary to exercise any and all rights it may have in the

    collateral, to gain possession of said collateral, to have such other and further in rem relief as

   is just, but the Movant shall not obtain in personam relief against the Debtor.

4. The relief in this Order shall not become effective until July 19, 2019, on which date the stay

   shall be lifted without further Order.

5. Secured Creditor must pre-approve any sale or “short sale.”




Attorney Brian Rosaler is directed to serve a copy of this order on interested parties who are non-
CM/ECF users and to file a proof of service within three days of entry of the order




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18-46635B
